         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                 vs.                      )            ORDER
                                          )
                                          )
(1) MICHAEL D. PAHUTSKI                   )
(2) VICTORIA L. SPROUSE                   )
(3) R. MICHAEL GEE                        )
                                          )


     THIS MATTER is before the Court on the Defendant’s Response to

Government’s Motion for Reconsideration of Motion to Set Trial Date and

Motion to Continue [Doc. 136].

     In order for the Court to resolve the issue of the setting of the trial in

an expeditious manner the Court needs for the other Defendants as well as

the Government to respond to Defendant Sprouse’s motion and response

on or before Monday, December 15, 2008.

     IT IS, THEREFORE, ORDERED that the Defendants Pahutski and

Gee as well as the Government shall respond to Defendant Sprouse’s




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Response to Government’s Motion [Doc. 136] on or before December 15,

2008.

        IT IS SO ORDERED.



                                    Signed: December 12, 2008




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